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LAW OFFICES OF RACHEL S. BLUMENFELD PLLC
Attomey for the Debtor

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RACHEL BLUMENFELD

U`NITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re: Chapter 7
JACOB FETMAN, Case No. 15-43716-NHL

Debtor.

 

X

DECLARATION OF RACHEL S. BLUMENFELD, ESQ. IN SUPPORT OF
APPL!QAI:ION TO w !THDB_AW A§ ATTOB§EX QF BECQBQ FQB f! §§ DE§TQB

Rachel S. Blumenfeld, of the firm of The Law Of.’dce of Rachel S. Blumenfeld PLLC (the
“Firrn”), attorneys for the Debtor, pursuant to 28 U.S.C. § 1746, and Local Bankruptcy Rule
2090-1 (d) declares under penalty of perjury as follows:

l. I am the attorney of record for the debtor, Jacob Fetman (the “Debtor”) and I am
making this declaration in support of my Application to Withdraw as Attorney of Record for the
Debtor. I have personal knowledge of the facts set forth herein, except to those facts that are
stated upon information and belief, and as to those facts, I believe them to be true.

GENERAL BACKGROUND

2. This case was commenced by the filing of an involuntary chapter 7 petition with the

Clerk of the Court for the Eastern District of New York on August ll, 2015 by the Debtor’s

father, Moshe Fetman.

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3. According to the docket of this case, it seems that David Carlebach was retained by
the Debtor on or prior to October 16, 2015 [see ECF Docket Entry 8, which is the first docket
entry by David Carlebach]. The Court issued an Order to Show Cause against the Carlebach
Firm and David Carlebach on or about April 14, 2017 for failure to appear for the Debtor on
April 5, 2017, et al [ECF Docket 198].

4. On May 2, 2017, the Law Office of Rachel S. Blumenfeld PLLC filed a Notice of
Appearance as counsel for the Debtor. [ECF Docket 201]. The Debtor is now represented by

The Law Ofiice of Rachel S. Blumenf`eld PLLC.

 

5. The Debtor, by email dated May 31, 2018 advised me that he will file a Response in
his case pro se. The May 31 email referred to an email of May 17, 2018 “releasing” me from
representing him in his case.l

6. In addition, the Debtor has failed to remit payment for services rendered pursuant to
the retainer agreement in this matter (he retained me at my hourly rate of $450), and the Debtor
currently owes me substantial attorneys fees. I have had conversations with the Debtor where he
has told me that he does not have the money to pay me but would pay me at the end of the case
when the matter settles. Due to the time constraints of this Motion, I am not concurrently filing a
Motion for Fees, but will do so on regular notice, to be paid out of proceeds of the Trustee from
the sale of assets of the Debtor. I have spoken to the Trustee’s counsel and he indicated he will

not oppose my request for fees in this case.

1 I did not receive see the May l7, 2018 email until today. lt was sent in the afternoon on a day where I
was in SDNY Bankruptcy Court all day, and before a 3 day Jewish Holiday began. Normally when there
is something important that the Debtor has wanted me to see, if no response is received he would call and/
or text; and or send me a WhatsApp notification. None were received for this.

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7. I have already advised the Debtor that I Will be making the instant motion.
8. lt is submitted that the foregoing constitutes “cause” for this Court’s approval of my
withdrawal as counsel in this case,
P_O_ST_LRE_M_E_CA._SE.

9. On May 9, 2018, one week before the Debtor informed me that he Will ‘relieve’ me on
this case, the Court signed an Order Approving the Global Settlement of this case. [See ECF
286]. On May 11, 2018, the Trustee filed a A Motion to Sell Property of the Estate Free and

Clear of Liens is scheduled for June 7, 2018 at 11:30 a.m. [ECF Docket No 287]. An
Aflirmation in Opposition to this Motion was filed by Aron Borukhov [ECF Docket 291] and the
Debtor filed a pro se Response in Support of the Motion on May 3 l , 2018 [ECF Docket No. 292]

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10. I am seeking an order pursuant to Rule 2090-l(d) (“Rule 2090-l(d)”) of the Local
Bankruptcy Rules for the Southern and Eastern Districts of New York.

ll. Rule 2090-1(d) provides:

Withdrawal or Substitution of Attorneys of Record.

An attorney who has been authorized to be retained or has appeared as the attorney of

record for any party in any case or adversary proceeding may not withdraw or be relieved

or displaced except by order after notice to the party represented, any adversaries (if
applicable), the United State trustee and the trustee. An application for such an order shall
include a showing by affidavit of satisfactory reasons for withdrawal or displacement and
the posture of the case, including the status of any pending matters.

12. The Second Circuit has stated that “the Model Code provides guidance for the court

as to what constitutes ‘ good cause’ to grant leave to withdraw as counsel.” Whiting v. Lacara
187, F.3d 317 (2d Cir. 1999); see also J_Q§eph Brenner A§§gcs. v. Starmaker Egtertainm§gt, Igg,,

82 F.3d 55 (2d Cir. 1996).

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13. Purusant to Rule 1.16(c)(4) of the New York State Rules of` Professional Conduct a
lawyer may withdraw from representation where “the client insists upon taking action with
which the lawyer has fundamental disagreement.” Furtherrnore, under Rule 1.16(c)(7), the
lawyer may withdraw, where “the client fails to cooperate in the representation or otherwise
renders the representation unreasonably difficult for the lawyer to carry out employment
efficiently.” Whiting v. Lacara, 187 F.3d 317 (2d Cir. 1999) (justices reversed the denial of
counsel ’s motion where the client clearly wanted to dictate how the matter would proceed).

14. In addressing motions to withdraw as counsel, district courts have typically
considered whether “the prosecution of the suit is [likely to be] disrupted by the withdrawal of

counsel.” Brown v. National Survival Games Inc. 1994 WL 660533 at *3 (N.D.N.Y. 1994)

 

(fmdirig that because “[discovery] is not complete and the case is not presently scheduled for
trial . . . . granting the instant motion will not likely cause undue delay”) Whiting v. Lacara, 187
F.3d 317 (2d Cir. 1999).

15. After representing the Debtor for over a year, the case being successfully settled and
the ore of the work being completed, the Debtor now seeks to proceed pro se. The Trustee still
has work to do, such as to sell the Debtor’s property and take some further action according to
the Global Settlement, but there should be minimal if any activity expected from the Debtor.

16. The facts set forth above demonstrate cause for an order allowing me to

withdraw as attorney for the Debtor.

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17. Pursuant to Rule 9077-1(a) of the Local Bankruptcy Rules of the Eastern District of
New York, the following constitutes the “good and sufficient” reason why it is necessary to
proceed with this motion by shortened notice, rather that by notice of motion.

18. As set forth above, the Trustee’s Motion to Sell Property Free and Clear of Liens is
currently pending, and scheduled for a hearing on June 7, 2018. Thus, this application is made
via shortened notice in order not to delay the proceedings in this case.

NO PRIOR REQUEST

19. No prior application has been made by me for the relief sought herein.

WHEREFORE, the Finn respectfully requests the entry of an Order granting the relief
requested for which no previous request has been made, and that the Court grant such other and
further relief it deems just and proper.

Dated: Brooklyn, New York

May 31, 2018

Respectfully submitted,
Law Ohice of Rachel S. Blumenfeld PLLC

By: _/s/ Rachel §. Blumenfel¢
Rachel S. Blumenfeld (RB-1458)

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